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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 STATE OF ILLINOIS,

                    Plaintiff,
                                                      Case No. 17-cv-6260
             v.
                                                      Hon. Rebecca R. Pallmeyer
 CITY OF CHICAGO,

                    Defendant.


        THE COALITION’S MOTION TO ENFORCE THE CONSENT DECREE
                CONCERNING CPD’S MASS ARREST POLICY

                                        INTRODUCTION

       After the Chicago Police Department’s (“CPD”) violent and unconstitutional response to

the summer 2020 racial justice protests, the Coalition, the Illinois Attorney General’s Office, and

CPD negotiated—and this Court approved—a new First Amendment policy. This policy is

intended to prevent abusive and unconstitutional policing and ensure compliance with the Consent

Decree during future protests. The August Democratic National Convention (“DNC”), which is

expected to attract major protests, is precisely the sort of event this First Amendment policy was

designed for. Yet, in preparation for the DNC, CPD recently proposed a new policy that contradicts

the negotiated policy, encourages unlawful mass arrests of protesters, and allows CPD officers to

escape accountability for use of force violations by weakening the procedures for documenting

and investigating officer violence against protesters.

       The Coordinated Multiple Arrest Policy Suite (Special Orders S06-06X – S06-06-03XX)

(the “mass arrest policy”) (Ex. A) violates the Consent Decree and fails to protect protesters’ First

Amendment rights. First, the mass arrest policy eviscerates protections required by the First
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Amendment, the Consent Decree (¶¶ 50-51, 156, 163), and CPD’s existing First Amendment

policy to protect people engaged in First Amendment expression and activity. Infra pp. 5-8.

Second, the mass arrest policy violates the Consent Decree’s mandates for use of force reporting

and investigations (¶¶ 217-19, 228-35, 571(h), 574-75). Infra pp. 8-11. Third, the mass arrest

policy fails to comply with the Consent Decree (¶¶ 64, 68-69) and federal civil rights laws’

requirements for disability and language accommodations. Infra p. 11. Fourth, CPD violated the

Decree’s community engagement requirements (¶ 633) for this policy. Infra pp. 11-12.

          For these reasons, on March 13, 2024, the Coalition filed a Notice of Intent to Initiate

Enforcement Proceedings, supported by a thirteen-page letter (Dkt. 1156, Dkt. 1156-1) (Ex. B),

and requested to meet with the City within one week to resolve this matter without Court

intervention. On March 21, 2024, the Court ordered the City to respond to the Coalition’s Notice

within thirty days. Dkt. 1157. As of this filing, the City has informed the Coalition that the earliest

it will meet with the Coalition is the week of April 22, 2024—six weeks after the Coalition’s

Notice.

          The urgent nature of the Consent Decree violations requires immediate action. CPD

officers are already being trained on the infirm policy for the DNC. The mass arrest policy must

be brought into compliance with the Consent Decree and the First Amendment with enough time

to train thousands of CPD officers and supervisors by the August DNC. Due to these exigent

circumstances, the Coalition moves to enforce the Consent Decree immediately. The Coalition

respectfully requests that the Court find that the mass arrest policy violates the Consent Decree,

order that CPD fully implement and train officers on the First Amendment policy, and order the

additional remedies described below.




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                                         BACKGROUND

I.     CPD’s Abuse of Protesters in Summer 2020, Subsequent Coalition Enforcement
       Letter, and the Resulting First Amendment Policy.

       In the summer of 2020, when Chicagoans protested racist and abusive policing, CPD

responded with brutal, violent, and unconstitutional tactics. As described in testimony from

protesters and in extensive reports by the Independent Monitoring Team (“IMT”), Dkt. 964, and

the City’s Office of Inspector General (“OIG”),1 CPD officers engaged in “indiscriminate uses of

force” against protesters. OIG Rep. 37. Officers hit protesters with batons, fists, and other objects,

pushed and shoved them, tackled them to the ground, and blanketed crowds with pepper spray.

Id.; Dkt. 964 at 12-13. In addition, CPD failed to “fulfill its force reporting obligations,” resulting

in massive underreporting and “an inadequate record of severe and potentially out-of-policy uses

of force.” OIG Rep. 9. CPD also improperly exempted uses of force from being reviewed by the

oversight unit now known as the Tactical Review and Evaluation Division (“TRED”). Id. at 110.

CPD arrested 1,500 protesters in just one week at the height of the protests. OIG Rep. 8-9.

       In July 2020, after witnessing CPD’s systematic brutality and Consent Decree violations,

the Coalition notified the City of its intent to file an enforcement action if the City failed to

immediately ensure compliance with the Decree and protect First Amendment rights. Dkt. 855;

Dkt. 855-1. The City, the Coalition, and the Illinois Attorney General’s Office then engaged in

settlement negotiations, supervised by the Court and the IMT. These negotiations resulted in a new

CPD First Amendment policy (Gen. Order G02-02) (Ex. C), which has provisions crafted to

prevent another 2020.




       1
         City of Chicago, Office of Inspector General, Report on Chicago’s Response to George Floyd
Protests and Unrest (Feb. 18, 2021), https://igchicago.org/wp-content/uploads/2023/08/OIG-Report-on-
Chicagos-Response-to-George-Floyd-Protests-and-Unrest.pdf [hereinafter “OIG Rep.”].
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II.     CPD’s Mass Arrest Policy.

        On February 9, 2024, CPD released the mass arrest policy for public comment. During the

policy’s development, CPD never shared a draft or even informed the Coalition of the policy,

despite our joint First Amendment negotiations.

        As the City explained at the March 12, 2024 public hearing, the mass arrest policy is

intended to govern CPD’s response to gatherings during the DNC. But the policy sweeps much

more broadly. It governs CPD’s response to any “crowds, protests, and civil disturbances.” S06-

06X, Sec. I. Specifically, the policy authorizes CPD to declare that any crowd, protest, or civil

disturbance constitutes a “Coordinated Multiple Arrest Incident” (a “CMA Incident”),2 which then

suspends CPD’s regular policies and procedures, including policies regarding arrests and reporting

use of force, for the duration of the CMA Incident. The policy states that it “will take precedence”

over “any other” CPD policy, including the approved First Amendment policy, if there is “any

perceived conflict.” S06-06-02XX, Sec. III.B.; S06-06-03XX, Sec. IV.B.

        The policy’s impact is immediate. As the City and IMT stated at the March 12 hearing,

CPD began training officers on the mass arrest policy last month (March 2024) for the DNC.3




        2
           A “CMA Incident” is defined as “an incident where multiple arrests are anticipated or occurring,
a continued police presence is required on the scene of the incident to ensure public safety, and individual
arresting officers cannot effectively be removed immediately from the incident scene for arrestee
processing.” S06-06-01XX, Sec. II.A.
         3
           In addition, on April 4, 2024, CPD participated in the first of multiple training exercises with
other City and federal agencies on “how to handle protesters” at the DNC. See Melody Mercado, Top
Security Agencies Plan For Safety Ahead Of Democratic National Convention, Block Club Chicago (Apr.
8,     2024),      https://blockclubchicago.org/2024/04/08/top-security-agencies-plan-for-safety-ahead-of-
democratic-national-convention/.
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                                           ARGUMENT

I.     The Policy Eviscerates Protections Required by the First Amendment, the Consent
       Decree, and CPD’s First Amendment Policy to Protect People Engaged in First
       Amendment Activity.

       The mass arrest policy risks rampant violations of First Amendment rights during the DNC.

       A.      The Policy Fails to Distinguish Between First Amendment-Protected Protests
               and Other Gatherings.

       The policy is flawed from the inception because it treats “crowds, protests, and civil

disturbances” as a unitary category, without explaining that certain types of gatherings trigger First

Amendment protection while others do not. The policy then compounds the likelihood that officers

will violate protesters’ First Amendment rights by wrongly suggesting that only some protests

qualify as protected “First Amendment assemblies.” See S06-06X, Sec. III.E.2., Sec. III.I.

Additionally, the policy makes no distinction between protests occurring on public sidewalks,

streets, or parks (traditional public forums) and those on private property. This omission is deeply

concerning, as the former is protected by the First Amendment whereas the latter generally is not.

See Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1930 (2019). This failure sets the

stage for the additional deficiencies described in detail below.

       B.      The Policy Fails to Provide Sufficient Guidance Regarding When CPD Can
               Issue a Dispersal Order During a Protest.

       The existing First Amendment policy provides that before CPD can make mass arrests of

protesters, it must first issue a dispersal order. G02-02, Sec. IX.E.2.c. The First Amendment policy

further requires that before “issuing a crowd dispersal order, the field commander must consider

if there are and attempt any available less intrusive options to stop the unlawful behavior

necessitating the issuance of the crowd dispersal order.” G02-02, Sec. IX.D.

       The mass arrest policy—which supersedes “any other Department directive” to the



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contrary—does not contain this requirement to consider less intrusive options. S06-06-02XX, Sec.

III.B. Instead, it states that CPD can issue crowd dispersal orders whenever three or more people

commit acts of disorderly conduct “likely to cause substantial harm.” S06-06X, Sec. V.B.3.

       This omission in the mass arrest policy risks unraveling one of the most important

protections in the First Amendment policy. The language in the First Amendment policy was

crafted to ensure that CPD refrains from interfering with protected expression whenever possible

while also permitting CPD to take enforcement action when needed to prevent substantial harm to

people or property. CPD’s long history of responding to protests with overbroad, unjustified mass

arrests demonstrates the importance of limiting the use of dispersal orders and subsequent arrests

for noncompliance. The mass arrest policy must therefore explicitly incorporate the First

Amendment policy’s pre-dispersal “less intrusive options” requirement.

       C.      Contrary to the Constitution and the First Amendment Policy, the Mass
               Arrest Policy Permits Officers to Engage in Unlawful Arrests.

       The First Amendment policy prohibits arresting protesters unless they pose an “immediate

threat to the safety of the community, or others, or of causing property damage.” G02-02, Sec.

IV.B.6.b. In addition, a person engaged in First Amendment conduct cannot be arrested for

“minor or petty offenses, including traffic or business offenses.” Id. Sec. IV.B.6.a. This language

follows Supreme Court precedent that an officer’s decision to arrest a protester for a minor offense

can be unlawful and retaliatory even if probable cause for the arrest exists. Nieves v. Bartlett, 139

S. Ct. 1715, 1727 (2019). The mass arrest policy eliminates this critical First Amendment

protection by stating that it “will take precedence” over “any other” policy to the contrary. S06-

06-02XX, Sec. III.B.

       Worse, the mass arrest policy authorizes field commanders to initiate “large scale

enforcement action[s], including physical arrests beyond the individual isolated incidents or

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individual offenses occurring,” id. Sec. IV.A, and it authorizes officers to use their batons to

“‘rake’ persons toward arrest teams.” S06-06-03XX, Sec. III.B.NOTE. Such “large scale” arrests

are precisely what the First Amendment policy prohibits by requiring officers to make an

individualized determination that a specific demonstrator poses an “immediate threat” before

arrest is authorized. G02-02, Sec. IV.B.6.b.

       The mass arrest policy also ignores Seventh Circuit precedent holding that arrests of

protesters on public property for failure to obey a dispersal order is permitted only if “immediate

danger to speakers and protesters exists . . . [and] dispersal [i]s a necessary means of averting

danger and damage.” Bell v. Keating, 697 F.3d 445, 457-58 (7th Cir. 2012); see also Vodak v.

City of Chicago, 639 F.3d 738, 746 (7th Cir. 2011) (holding CPD could not arrest protesters who

“were not threatening to the safety of the police or other people . . . [and] who the police had no

good reason to believe knew they were violating a police order.”) And unlike the First

Amendment policy, the mass arrest policy does not state that officers must give protesters

“sufficient time” to comply with dispersal orders before arresting them. G02-02, Sec. IX.E.1.b.;

id. Sec. IX.E.2.c.

       D.      The Mass Arrest Policy Fails to Adequately Prohibit Retaliation.

       The First Amendment policy prohibits officers from “us[ing] force to punish, retaliate

against, deter, or respond to the lawful expression of First Amendment rights.” Id. Sec. IV.B.3.

This restriction is required by Decree Paragraph 163 and the First Amendment. Nieves, 139 S. Ct.

at 1722.

       The mass arrest policy contradicts these requirements. While the parent policy recites a

correct standard, S06-06X, Sec. III.K.2., the sub-policy on “alternate tactical response reporting”

authorizes officers to “physically respond to a crowd’s actions or inactions in response to verbal



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directions and make physical contact with a person or persons in the crowd.” S06-06-03XX, Sec.

III.A. It also enumerates various types of force, including deadly force and weapon discharge, that

an officer may “become[] involved in.” Id. Sec. V.C.1.-6. This policy—which states that it

supersedes “any other Department directive” to the contrary—makes no mention of the

Constitution’s, Consent Decree’s, and First Amendment policy’s prohibition on using force in

retaliation for First Amendment-protected expression.4 Id. Sec. IV.B.

       E.      The Mass Arrest Policy Fails to Prohibit “Kettling.”

       Finally, the mass arrest policy undermines the First Amendment policy by stating that

officers “will avoid containment or corralling tactics known as ‘kettling’ and will provide specific

egress directions for safe crowd dispersal.” S06-06X, Sec. V.B.4.c.REMINDER (emphasis added).

The First Amendment policy, Sec. IX.E.1.a.(2)-(3), prohibits “kettling” under all circumstances.

The mass arrest policy’s “avoid” terminology weakens this bright-line rule.

II.    The Mass Arrest Policy Violates the Consent Decree’s Mandates for Reporting
       Officer Use of Force.

       The mass arrest policy suspends CPD’s typical procedures for reporting officer use of

force. The policy institutes “alternate tactical response reporting procedures” whenever a CMA

Incident is declared, which “take precedence” over “any other Department directive.” S06-06-

03XX, Sec. IV.A., Sec. IV.B. The alternate procedures violate the Consent Decree’s requirements

for both how and when officers must report the use of force.




       4
         By enumerating “canines” as a “force option,” S06-06-03XX, Sec. V.C.4., the mass arrest policy
also contradicts CPD’s policy Canine Teams, Special Order S03-04-01, Sec. IV.A, which—for obvious
reasons—forbids unleashing dogs on protesters.
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       A.      The Mass Arrest Policy Violates Consent Decree Requirements for
               Documenting and Investigating All Reportable Uses of Force.

       In violation of the Consent Decree, the policy allows officers to use a watered-down form

instead of a Tactical Response Report (“TRR”) to document certain uses of force. Under Consent

Decree Paragraph 219, CPD officers “must complete a TRR” or “similar form of documentation”

“[w]henever a CPD member engages in a reportable use of force.” (Emphasis added). The Decree

defines “reportable use of force” broadly: “any force by a CPD member to overcome the active

resistance of a subject.” ¶ 218(a). This includes any “force that is reasonably expected to cause

pain or an injury, but does not result in injury or complaint of injury.” Id.

       The mass arrest policy violates this reporting requirement. The policy states that during a

CMA Incident, officers need to complete a TRR for only the following uses of force: “deadly

force,” “weapon discharge,” “impact weapon strikes,” “canines as a force option,” “Long Range

Acoustic Device (LRAD) acoustic transmission to cause discomfort as a compliance technique,”

and “force that results in a non-fatal major injury,” where “major injury” is defined as a “visible

injury requiring immediate medical attention.” S06-06-03XX, Sec. V.C. (emphasis added). This

means that uses of force that are “reasonably expected to cause pain or an injury” but do not result

in an immediately observable “major injury” will not be reported in a TRR. For example, if an

officer hits or kicks a protester but does not observe an injury, the officer does not have to complete

a TRR. Under the Decree, there is no circumstance where officers are excused from submitting a

TRR because they do not believe—or admit—that they caused injury. CPD cannot carve out

exceptions to accountability mandates in this way when CPD’s use of force is subject to ongoing

oversight by this Court.

       In lieu of a TRR, the mass arrest policy allows officers to submit a much less extensive

form, a Coordinated Multiple Arrest Report, CPD-11.433 (Rev. 1/24) (a “CMA Report”) (Ex. D).


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See S06-06-03XX, Sec. V.B.-C. But the CMA Report is not a “similar form of documentation [to

a TRR],” under Consent Decree Paragraph 219 and is not sufficient for needed oversight. First,

the CMA Report, which is less than half the length of a TRR (Ex. E), requires officers to provide

far less information than a TRR, impairing efforts to hold officers accountable for improper uses

of force, and to track and address use of force patterns. Second, unlike a TRR, a CMA Report is

not subject to the Consent Decree’s oversight mandates for reportable uses of force: district-level

supervisory investigation (¶¶ 228-35) and independent review by the Tactical Review and

Evaluation Division (“TRED”) (¶¶ 574-75).5 These mandatory layers of review ensure that

officers’ use of force is thoroughly evaluated for violations of law or policy, that any such

violations are referred to the Civilian Office of Police Accountability (“COPA”), and that officers

receive any necessary corrective action such as retraining. Given CPD’s widespread use of

excessive force—and officers’ widespread failure to report uses of force—during the summer 2020

protests, CPD should be strengthening procedures for documenting and investigating officer

violence against protesters. This policy does the opposite.

        B.      The Mass Arrest Policy Violates the Consent Decree by Delaying Use of
                Force Reporting.

        The Consent Decree mandates that “[w]henever” an officer commits a reportable use of

force, the officer “must” complete a TRR “prior to the end of his or her tour of duty.” ¶ 219

(emphasis added). The Consent Decree makes no exceptions for “mass arrests.” In violation of

this requirement, the policy authorizes an incident commander to “institute delayed Tactical



        5
          While the mass arrest policy states that a copy of each CMA Report will be forwarded to TRED,
S06-06-02-XX, Sec. VI.D.4., the policy makes clear that TRED’s review of CMA Reports does not comply
with the Consent Decree’s requirements for assessing uses of force. The Decree requires TRED to conduct
an in-depth evaluation of the officer’s use of force, assessing each particular use of force incident. ¶ 574.
In contrast, the mass arrest policy states that TRED will conduct only a high-level review of the CMA
Incident as a whole, i.e., assessing CPD’s response to an entire protest. S06-06-03XX, Sec. VIII.B.1.
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Response Reporting procedures,” which enables officers to “complete any TRR after the members’

tour of duty.” S06-06-03XX, Sec. VII.C., Sec. VII.H.2. (emphasis added). The policy places no

constraints on the post-tour-of-duty timeline for submitting a TRR. It merely requires that CMA

Reports (not TRRs) be submitted by the end of an officer’s tour of duty. The policy’s delayed use

of force reporting undermines accountability in the very context—police response to protests—in

which CPD has demonstrated a heightened need for ensuring accountability.

III.   The Mass Arrest Policy Fails to Comply with Consent Decree and Federal Statutory
       Requirements for Providing Disability and Language Accommodations.

       The Consent Decree requires that CPD make reasonable accommodations for people with

disabilities (¶¶ 68-69) and people who have limited English proficiency (“LEP”) (¶ 64), to ensure

“effective communication” and “meaningful access” to police services. These requirements reflect

the mandates of Title II of the Americans with Disabilities Act, 42 U.S.C. § 12132, and Title VI

of the Civil Rights Act of 1964, 42 U.S.C. § 2000d.

        The mass arrest policy fails to comply with these requirements. It informs officers that

disabilities and “language barriers” may be a reason why a person “may not recognize or be able

to immediately respond to law enforcement directions.” S06-06X, Sec. V.C.6.; S06-06-03XX, Sec.

VI.A.6.REMINDER. But it omits that officers must affirmatively provide alternative

communication methods if needed to ensure effective communication with individuals with

disabilities and LEP individuals. Therefore, the policy does not adequately protect people with

disabilities and limited English proficiency, as required by the Decree and federal law.

IV.    CPD Violated the Consent Decree’s Community Engagement Requirements.

       The Consent Decree mandates that CPD provide the public with “a meaningful opportunity

to review and comment on” proposed changes to CPD policies and procedures related to Decree

requirements. ¶ 633. The Decree further requires CPD to “consider,” in response to any public


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comments, “whether any further revisions to the proposed policy or procedure are appropriate.”

Id. CPD failed to comply with these requirements for the mass arrest policy.

       The timing of CPD’s training on this policy makes clear the public never had a “meaningful

opportunity” to give input. As the City and IMT stated at the March 12 public hearing, CPD

developed and began training on this policy before the public comment period even closed on

March 13. The public could not possibly have had a “meaningful opportunity” to give input on the

policy when CPD considered it finalized and ready for training before the comment period ended.

CPD clearly aimed to ram this policy through without engaging with the community’s concerns,

in violation of Paragraph 633.

V.     Exigent Circumstances Necessitate Immediate Intervention by the Court.

       The Court should exercise its discretionary power because time is running out. The City is

already training officers on the mass arrest policy and the DNC is only four months away, yet the

City will not meet with the Coalition until late April. The Coalition filed its Notice of Intent to

Initiate Enforcement Proceedings on March 13, 2024, which started the Decree’s 90-day “cure

period.” ¶¶ 695, 709(a). The Notice requested that the City inform the Coalition by March 20,

2024 whether it “is interested in resolving these matters immediately and without Court

intervention.” Ex. B, Dkt. 1156-1 at 13. The Notice also requested all training materials for the

policy and an opportunity to observe the training. The Coalition sought to “work collaboratively”

with the City through “expedited settlement talks” to “redress the serious deficiencies in the mass

arrest policy” and to avoid this enforcement action. Ex. B, Dkt. 1156 at 2-3.

       The City has not agreed to expeditiously fix the mass arrest policy or even engage in

expedited discussions. After receiving no response to the March 13 Notice, the Coalition asked the

City to discuss the mass arrest policy during the week of April 8. But the City responded that the



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earliest it would meet is the week of April 22, some six weeks after the Coalition’s Notice. While

the Court ordered the City to respond to the Coalition’s March 13 Notice, there is no guarantee

that the City will provide a substantive response or, as its counsel indicated at the March 12 public

hearing, will simply try to delay until June by invoking the cure period. In addition, CPD has

blocked the Coalition’s access to training materials on the mass arrest policy, which the Coalition

requested under the Illinois Freedom of Information Act. (Ex. F.) Instead of responding, CPD

declared itself entitled to multiple “extensions,” id., which are not authorized by the law. See 5

ILCS 140/3(f). While the Coalition hopes to meet with the City this month, exigent circumstances

necessitate that the Court hear this enforcement motion and order relief before the end of the cure

period (June 11, 2024).

       A.      The Court Has Discretion To Hear This Enforcement Motion Early.

       When, as here, a federal court is faced with violations of a consent decree under its

supervision, the court “is vested with broad discretionary power” to craft appropriate remedies.

Duran v. Elrod, 713 F.2d 292, 297-98 (7th Cir. 1983). The court’s “broad” “judicial discretion”

includes granting “equitable remedies which exceed the confines of the consent judgment,”

provided that they “are reasonably imposed in order to secure compliance of the parties.” E.E.O.C.

v. Loc. 580, Int’l Ass’n of Bridge, Structural & Ornamental Ironworkers, Joint Apprentice-

Journeyman Educ. Fund, 925 F.2d 588, 593 (2d Cir. 1991). In addition, “[a] court of equity has

the power to modify a consent decree to adapt for changed circumstances.” S. Suburban Hous. Ctr.

v. Berry, 186 F.3d 851, 855 n.1 (7th Cir. 1999).

       Here, the Court’s broad equitable powers allow it to hear the Coalition’s enforcement

motion before June 11 because doing so will ensure CPD’s compliance with the Consent Decree.

If the Court were to wait, any enforcement proceedings would not begin until mid-June and could

conclude weeks or even days before the DNC. At that point, it will be too late for the Court to
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issue effective relief. Absent immediate action, the mass arrest policy may evade the Court’s

review until after it has been applied against—and likely harmed—scores of protesters at the DNC.

This would defeat the Court’s enforcement power under Paragraph 695.

       The Court need not apply the 90-day period when it would produce such a patently

unreasonable result. “From the standpoint of interpretation a consent decree is a contract,” Cook

v. City of Chicago, 192 F.3d 693, 695 (7th Cir. 1999), and “[c]ontractual language can be bent

when necessary to avoid absurd or even just commercially unreasonable results.” In re Comdisco,

Inc., 434 F.3d 963, 967 (7th Cir. 2006). As the Seventh Circuit has held, a district court may

exercise its “equitable powers” to decline to apply, or even to modify, terms of a consent decree if

they are unreasonable, contrary to public policy, or would not “serve the ultimate goals” of the

decree. See, e.g., S. Suburban Hous. Ctr., 186 F.3d at 855 n.1, 856 (affirming district court’s refusal

to apply “remedy specifically provided for in the Consent Decree” where it was disproportionately

punitive, and affirming district court’s modification of decree “to account for the changed

circumstances” (quotation marks omitted)); United States v. Alshabkhoun, 277 F.3d 930, 934 (7th

Cir. 2002) (consent decree provision is unenforceable if it constitutes “unreasonable penalty or is

void as a matter of public policy.”).

       Here, the equities weigh in favor of immediate enforcement proceedings. The compliance

interests—ensuring CPD’s policy and training for policing protests at the DNC complies with the

Consent Decree and First Amendment—far outweigh waiting until the end of the 90-day period,

particularly when the City has shown no willingness to cure the deficiencies. Moreover, this is not

a new issue for the City and the Coalition. Since the Coalition filed its July 2020 Notice of Intent

to Initiate Enforcement Proceedings (Dkt. 855; Dkt. 855-1), the City has known that the Coalition

is deeply concerned with CPD’s use of force against and failure to protect the First Amendment



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rights of protestors. The City could have involved the Coalition earlier, or collaborated with the

Coalition to resolve the problems in the Coalition’s Notice. It chose not to. The exigency here is

of CPD’s own making, which underscores the equities favoring immediate enforcement. See

Precision Inst. Mfg. Co. v. Automotive Maintenance Mach. Co., 324 U.S. 806, 814 (1945) (“[H]e

who comes into equity must come with clean hands.”).

       B.        The Court Should Grant Relief To Ensure Consent Decree Compliance.

       The Coalition therefore requests that the Court grant relief to cure the deficiencies

described above, including finding that the mass arrest policy violates the Consent Decree and

ordering CPD to fully implement and train officers on the First Amendment policy. These remedies

are well within the Court’s “broad discretionary power” to craft relief needed to ensure compliance

with a consent decree. See Duran, 713 F.2d at 297-98 (holding that district court did not abuse its

discretion by selecting the remedial “means” by which “to assure effective compliance” with

consent decree requirements, including remedies beyond the decree’s text).

                                        CONCLUSION

       For the reasons stated above and in the Coalition’s Notice, the Coalition respectfully

requests that the Court:

   (1) Find that the mass arrest policy violates the Consent Decree.

   (2) Order that CPD suspend any training on the mass arrest policy.

   (3) Order that CPD fully implement and train CPD officers on the negotiated First Amendment

       policy.

   (4) Produce the training materials on the mass arrest policy and the First Amendment policy.

   (5) Permit Coalition members and counsel to attend the First Amendment policy training.




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DATED: April 12, 2024                Respectfully Submitted,

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